Case 1:24-cr-O0006-AKB *SEALED* Document 2 Filed 01/09/24 Page 1of4

U.S. COURTS
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA, ce
CaseNo, (A 24-0006-SAICR

INDICTMENT

Plaintiff,

VS.
18 U.S.C. §2

DEANN TACKMAN 21 U.S.C. §§ 841(a)(1), (b)(1)(A), and 846
21 U.S.C. § 853

Defendants.

The Grand Jury charges:

COUNT ONE

Distribution of Methamphetamine
21 U.S.C. § 841(a)(1) and (b)(1)(A); 18 U.S.C. § 2

On or about November 13, 2023, in the District of Idaho, the Defendants, DEANN

TACKMAN and TE nowingly and intentionally distributed 50 grams or

INDICTMENT - I

Case 1:24-cr-O0006-AKB *SEALED* Document 2 Filed 01/09/24 Page 2 of 4

more of actual methamphetamine, a Schedule I controlled substance, in violation of Title 21,
United States Code, Sections 841(a)(1), (b)(1)(A), and Title 18, United States Code, Section 2.

COUNT TWO

Conspiracy to Distribute Methamphetamine
21 U.S.C. §§ 841(a)(1), (b)(1)(A) and 846

Beginning on or about November 16, 2023, and continuing through November 18, 2023,
in the District of Idaho and elsewhere, the Defendants, DEANN TACKMAN
2:0 EE .owingly and intentionally combined, conspired,
contfederated, and agreed together and with other persons, known and unknown to the Grand
Jury, to distribute 500 grams or more of a mixture and substance containing a detectable amount
of methamphetamine, a Schedule II controlled substance, in violation of Title 21, United States
Code, Sections 841(a)(1), (b)(1)(A), and 846,

COUNT THREE

Distribution of Methamphetamine
21 :ULS.C. § 841(a)(1), (b)CD(A)

On or about November 17, 2023, in the District of Idaho, the Defendant, DEANN
TACKMAN, knowingly and intentionally distributed 500 grams or more of a mixture and
substance containing a detectable amount of methamphetamine, a Schedule II controlled
substance, in violation of Title 21, United States Code, Section 841(a)(1) and (b)(1)(A).

COUNT FOUR

Conspiracy to Distribute Methamphetamine
21 U.S.C. §§ 841(a)(1), (b)(L)(A) and 846

Beginning on or about November 25, 2023, and continuing through November 30, 2023,

in the District of Idaho and elsewhere, the Defendants, DEANN TACKMAN, xiii

 :::  ::owingly and intentionally combined,

INDICTMENT - 2

Case 1:24-cr-O0006-AKB *SEALED* Document 2 Filed 01/09/24 Page 3 of 4

conspired, confederated, and agreed together and with other persons, known and unknown to the
Grand Jury, to distribute 50 grams or more of actual methamphetamine, a Schedule II controlled

substance, in violation of Title 21, United States Code, Sections 841(a)(1), (b)(1)(A), and 846.

CRIMINAL FORFEITURE ALLEGATION

Drug Forfeiture
21 U.S.C, § 853

Upon conviction of the offenses alleged in Counts One through Four of this Indictment,

the Defendants, DEANN TACKMAN, [iii
a ::3 forfeit to the United States any and all property, real

and personal, tangible and intangible, consisting of or derived from any proceeds the said
Defendant obtained directly or indirectly as a result of the foregoing offenses; and any and all
property, real and personal, tangible and intangible, used or intended to be used, in any manner
or part, to commit, or to facilitate the commission of, the foregoing offenses. The property to be
forfeited includes, but is not limited to, the following:

l. Unrecovered Cash Proceeds and/or Facilitating Property. The Defendant obtained

and controlled unrecovered proceeds of the offense of conviction, or property derived from or
traceable to such proceeds, and property the Defendant used to facilitate the offense (if
facilitation is alleged), but based upon actions of the Defendant, the property was transferred,
diminished, comingled, or is otherwise unavailable.

2, Substitute Assets. Pursuant to 21 U.S.C. § 853(p) and other applicable statutes,

the government will seek forfeiture of substitute assets, “or any other property of the Defendant”
up to the value of the Defendant’s assets subject to forfeiture. The government will do so when

the property subject to forfeiture cannot be forfeited for one or more of the following reasons:

INDICTMENT - 3

Case 1:24-cr-O0006-AKB *SEALED* Document 2 Filed 01/09/24 Page 4 of 4

a. Cannot be located upon the exercise of due diligence;

b. Has been transferred or sold to, or deposited with, a third person;

c, Has been placed beyond the jurisdiction of the court;

d, Has been substantially diminished in value; or

e, Has been commingled with other property which cannot be subdivided
without difficulty,

soe co :
Dated this 9th. day of January, 2024,

A TRUE BILL

/s/ [signature on reverse]

FOREPERSON

JOSHUA D. HURWIT
UNITED STATES ATTORNEY
By:

& . MORSE
ASSISTANT UNITED STATES ATTORNEY

MARIE C. CHONG

SPECIAL ASSISTANT UNITED STATES ATTORNEY

INDICTMENT - 4

